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 1                   FIRST AMENDED COMPLAINT FOR DAMAGES
 2         Plaintiffs ROSA NAVAS, ALFREDO NAVAS, A.N., J.N., A.N., A.B. and R.B.
 3   for their complaint against Defendants CITY OF LOS ANGELES, BRIAN VAN
 4   GORDON, and DOES 1-10, inclusive, hereby allege as follows:
 5

 6
                                       INTRODUCTION
 7
           1. This is a civil rights lawsuit, in which Plaintiffs seek damages arising from
 8
     the March 5, 2015 fatal shooting of Sergio Navas (“NAVAS”) by City of Los Angeles
 9
     Police Officer Brian Van Gordon. Sergio Nava was a father of three minor children.
10
     His three children and his two parents are the Plaintiffs and seek compensatory
11
     damages (wrongful death, survival damages, funeral and burial expenses and loss of
12
     financial support), punitive damages, attorneys’ fees, and costs from Defendants for
13
     violating various rights guaranteed to the NAVAS and to Plaintiffs by the Bill of
14
     Rights, the United States Constitution, the California Constitution, and the laws of the
15
     State of California.
16

17

18
                                            PARTIES

19         2. At all relevant times, NAVAS Sergio Navas (“NAVAS”) was an individual
20   residing in County of Los Angeles, California.
21         3. Plaintiff ROSA NAVAS is the mother of NAVAS. At all relevant times,
22   ROSA NAVAS resided and currently resides in the County of Los Angeles, California.
23   ROSA NAVAS sues in her individual capacity as the mother of NAVAS. In her
24   individual capacity in this suit, ROSA NAVAS seeks wrongful death damages under
25   state and federal law.
26         4. Plaintiff ALFREDO NAVAS is the father of NAVAS. At all relevant times,
27   ALFREDO NAVAS resided and currently resides in the County of Los Angeles,
28
     California. ALFREDO NAVAS sues in his individual capacity as the father of
                                                 -2-
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   NAVAS. In his individual capacity in this suit, ALFREDO NAVAS seeks wrongful
 2   death damages under state and federal law.
 3         5. Plaintiff A.N. is the minor son of NAVAS, who resides in the County of Los
 4   Angeles, California. A.N. sues by and through his Next Friend, who is his mother,
 5   Christel Emmet. A.N. sues in his individual capacity for his own damages and for
 6
     survival damages in his capacity as successor in interest to his father, Sergio Navas.
 7
           6. Plaintiff J.N. is the minor son of NAVAS, who resides in the County of Los
 8
     Angeles, California. J.N. sues by and through his Next Friend, who is his mother,
 9
     Christel Emmet. J.N. sues in his individual capacity for his own damages and for
10
     survival damages in his capacity as successor in interest to his father, Sergio Navas.
11
           7. Plaintiff A.N. is the minor daughter of NAVAS, who resides in the County of
12
     Los Angeles, California. A.N. sues by and through her Next Friend, who is her
13
     mother, Christel Emmet. A.N. sues in her individual capacity for her own damages
14
     and for survival damages in her capacity as successor in interest to her father, Sergio
15
     Navas.
16

17
           8. Plaintiff A.B. is the minor son of NAVAS, who resides in the County of Los

18
     Angeles, California. A.B. sues by and through his guardian ad litem, Blanca Chevez,

19   who is his mother. A.B. sues in his individual capacity for his own damages and for
20   survival damages in his capacity as successor in interest to his father, Sergio Navas.
21         9. Plaintiff R.B. is the minor daughter of NAVAS and resides in the County of
22   Los Angeles, California. R.B. sues by and through her guardian ad litem, Blanca
23   Chevez. R.B. sues in her individual capacity for her own damages and for survival
24   damages as successor in interest to her father, Sergio Navas.
25         10. At all relevant times, Defendant CITY OF LOS ANGELES (“CITY”) is and
26   was a duly organized public entity, form unknown, existing under the laws of the State
27   of California. At all relevant times, CITY was the employer of Defendants BRIAN
28
     VAN GORDON (“VAN GORDON”), an individual, and DOES 1-10. Plaintiffs do
                                                 -3-
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   not seek punitive damages against CITY but contend that CITY is vicariously liable
 2   for Plaintiff’s claims under state law and directly liable for their claims under federal
 3   law pursuant to Monell and its progeny.
 4         11. At all relevant times, Defendant VAN GORDON was a duly appointed
 5   CITY of Los Angeles Police Officer and an employee or agent of CITY, subject to
 6
     oversight and supervision by CITY’s elected and non-elected officials, and he acted
 7
     under color of law, to wit, under the color of the statutes, ordinances, regulations,
 8
     policies, customs, and usages of defendant CITY OF LOS ANGELES, the CITY OF
 9
     LOS ANGELES POLICE DEPARTMENT, and under the color of the statutes and
10
     regulations of the State of California.
11
           12. At all relevant times, Defendants DOES 1-10 were duly appointed CITY
12
     Police Officers and/or employees or agents of CITY, subject to oversight and
13
     supervision by CITY’s elec6ted and non-elected officials and/or were managerial,
14
     supervisory or policy-making officials of the CITY of Police Department. At all
15
     relevant times, DOES 1-10 acted under color of law, to wit, under the color of the
16

17
     statutes, ordinances, regulations, policies, customs, and usages of defendant CITY OF

18
     LOS ANGELES, the CITY OF LOS ANGELES POLICE DEPARTMENT, and under

19   the color of the statutes and regulations of the State of California.
20         13. In doing the acts and failing and omitting to act as hereinafter described,
21   Defendants DOES 1-10 were acting on the implied and actual permission and consent
22   of CITY.
23         14. At all times mentioned herein, each and every defendant was the agent of
24   each and every other defendant and had the legal duty to oversee and supervise the
25   hiring, conduct and employment of each and every defendant.
26         15. DEFENDANT CITY is liable for the nonfeasance and malfeasance of VAN
27   GORDON and DOES 1-10 for Plaintiff’s state law claims pursuant to Cal. Govt. Code
28
     § 815.2(a). (“A public entity is liable for injury proximately caused by an act or
                                                  -4-
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   omission of an employee of the public entity within the scope of his employment if the
 2   act or omission would, apart from this section, have given rise to a cause of action
 3   against that employee or his personal representative.”). VAN GORDON and DOES 1-
 4   10 are liable for their nonfeasance and malfeasance pursuant to Cal. Civ. Code §
 5   820(a). DEFENDANT CITY OF LOS ANGELES is also liable pursuant to Cal. Govt.
 6
     Code § 815.6.
 7
             16. The true names of defendants DOES 1 through 10, inclusive, are unknown to
 8
     Plaintiffs at this time, who therefore sue these defendants by such fictitious names.
 9
     Plaintiffs will seek leave to amend this complaint to show the true names and
10
     capacities of these defendants when they have been ascertained. Each of the fictitious
11
     named defendants is responsible in some manner for the conduct and liabilities alleged
12
     herein.
13
             17. On April 17, 2015 Plaintiffs filed comprehensive and timely claims for
14
     damages with CITY pursuant to applicable sections of the California Government
15
     Code.
16

17
             18. Plaintiffs’ claims were rejected on June 10, 2015.

18

19                                JURISDICTION AND VENUE

20           19. This civil action is brought for the redress of alleged deprivations of rights
21   under the laws of the State of California and of constitutional rights protected by 42
22   U.S.C. §§ 1983, 1985, 1986, 1988, and the First, Fourth, and Fourteenth Amendments
23   to the United States Constitution. Jurisdiction is founded on 28 U.S.C. §§ 1331, 1334,
24   and 1367.
25           20. Venue is proper in this Court under 28 U.S.C. §1391(b), because Defendants
26   reside in, and all incidents, events, and occurrences giving rise to this action occurred
27   in the County of Los Angeles, California.
28


                                                   -5-
                                   FIRST AMENDED COMPLAINT FOR DAMAGES
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 1                  FACTS COMMON TO ALL CLAIMS FOR RELIEF
 2         21. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 3   through 18 of this Complaint with the same force and effect as if fully set forth herein.
 4         22. The incident upon which this action is based occurred on or about March 5,
 5   2015, at or near 4110 National Avenue in the City of Burbank, County of Los Angeles,
 6
     California.
 7
           23. At the time of this incident, NAVAS SERGIO NAVAS (“NAVAS”) was a
 8
     35-year old father of three children.
 9
           24. On or about March 5, 2015, Los Angeles Police Officer VAN GORDON
10
     was on patrol and encountered a vehicle driven by SERGIO NAVAS. A vehicle
11
     pursuit ensured. Plaintiffs are informed and thereon believe that at the time VAN
12
     GORDON decided to initiate a pursuit of NAVAS, that he had no information that
13
     NAVAS had committed any crime, did not see NAVAS in the process of committing
14
     or about to commit any crime, knew nothing about NAVAS and had never seen
15
     NAVAS before. Plaintiffs are informed and thereon believe that NAVAS was
16

17
     unarmed, that VAN GORDON never saw NAVAS with a weapon or with anything

18
     that looked like a weapon, and that VAN GORDON never saw or heard NAVAS

19   verbally or physically threaten anyone.
20         25. The vehicle pursuit ended in a cul-de-sac near 4100 National Ave in the
21   City of Burbank, California. Plaintiffs are informed and thereon believe that VAN
22   GORDON’s patrol vehicle violated proper police procedure when it pulled up
23   alongside of the driver’s side of NAVAS’ vehicle, making it impossible for NAVAS to
24   exit his car through the driver’s side door. VAN GORDON’S improper tactics also
25   created a scenario in which VAN GORDON was unable to avail himself of distance
26   and cover. Without any warning and when NAVAS posed no immediate threat of
27   death or serious bodily injury to VAN GORDON or to anyone else, VAN GORDON
28


                                                  -6-
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   fired multiple shots at NAVAS. VAN GORDON’s gunfire struck NAVAS twice, once
 2   in the arm and once in the abdomen.
 3          26. Plaintiffs are informed and thereon believe that NAVAS posed no
 4   immediate threat of death or serious bodily injury to anyone at the time he was shot.
 5   At the time that VAN GORDON fired, NAVAS’ vehicle was not moving, NAVAS
 6
     was unarmed and he had not threatened anyone.
 7
            27. NAVAS exited the vehicle through the passenger side door and fell onto the
 8
     ground, feet away from the officers. A witness and certified registered nurse who was
 9
     at the scene tried to render medical assistance to NAVAS, but officers prevented him
10
     from doing so and ordered the registered nurse to “back off.” No officer on scene
11
     rendered any medical aid to NAVAS. NAVAS died from his wounds and was
12
     pronounced dead at the scene.
13

14
                                     FIRST CLAIM FOR RELIEF
15
                     Fourth Amendment Unreasonable Search and Seizure
16

17
                            Detention and Arrest (42 U.S.C. §1983)

18
                          (against VAN GORDON AND DOES 1-10)

19          28. Plaintiffs repeat and reallege each and every allegation in paragraphs 1
20   through 27 of this First Amended Complaint with the same force and effect as if fully
21   set forth herein.
22          29. The Fourth Amendment to the United States Constitution guarantees all
23   persons the right to be free from unreasonable detention in violation of their right to
24   privacy. 42 U.S.C. § 1983 provides a private right of action for conduct which violates
25   this right.
26          30. On March 5, 2015, Defendants VAN GORDON and DOES 1-10 attempted
27   to and eventually did stop the vehicle that NAVAS was driving. When Defendants
28
     first encountered the vehicle, it was being operated in a lawful manner. Defendants
                                                 -7-
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   did not have any specific information or recognize this particular vehicle or the
 2   occupant as connected with any crime or outstanding want or warrant. Defendants did
 3   not know the occupants or the car from any prior contacts. Defendants had no
 4   objectively reasonable or specifically articulable factual basis to suspect that the
 5   vehicle or its occupant was connected with the commission of any crime. Once
 6
     Defendants stopped the vehicle and seized NAVAS, Defendants had no confirmation
 7
     that NAVAS had committed any crime, no information that NAVAS was any threat to
 8
     any officer or any other person, and did not see NAVAS in possession of any illegal
 9
     objects, contraband, or weapons.
10
           31. The conduct of VAN GORDON and DOES 1-10 on March 3, 2015 violated
11
     NAVAS’s rights to be free from unreasonable search and seizure, which is guaranteed
12
     to him by the Fourth Amendment to the United States Constitution and applied to state
13
     actors by the Fourteenth Amendment.
14
           32. VAN GORDON and Defendants DOES 1-10 were integral participants and
15
     failed to intervene with respect to the other officers’ unreasonable seizure of NAVAS
16

17
     despite the opportunity to do so.

18
           33. The conduct of Defendants VAN GORDON and DOES 1-10 in

19   unreasonably seizing NAVAS up to and including the shooting was malicious,
20   oppressive and in reckless disregard for the rights and safety of NAVAS and warrants
21   the imposition of exemplary and punitive damages as to these individual Defendants.
22         34. As a direct result of the death of NAVAS, Plaintiffs have suffered the loss
23   of love, care, comfort, society, companionship, assistance, protection, affection, moral
24   support, support, and loss of services of NAVAS. The present wrongful death claim is
25   also made by NAVAS’ Successors-In-Interest A.N., J.N., and A.N., who seek both
26   wrongful death and survival damages under this claim.
27

28


                                                  -8-
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1           35. As a direct result of the unreasonable detention of NAVAS, he experienced
 2   severe pain and suffering and lost his life for which he, through Plaintiffs A.N., J.N.,
 3   and A.N., as his successors in interest, is entitled to recover damages.
 4           36. Plaintiffs also seek attorneys’ fees pursuant to 42 U.S.C. § 1988 and costs of
 5   suit.
 6
                                SECOND CLAIM FOR RELIEF
 7
                         Fourth Amendment Unreasonable Search and Seizure
 8
                                   Excessive Force (42 U.S.C. §1983)
 9
                            (against VAN GORDON and DOES 1-10)
10
             37. Plaintiffs repeat and reallege each and every allegation in paragraphs 1
11
     through 36 of this First Amended Complaint with the same force and effect as if fully
12
     set forth herein.
13
             38. The Fourth Amendment to the United States Constitution guarantees all
14
     persons the right to be free from excessive force by peace officers. 42 U.S.C. § 1983
15
     provides a private right of action for conduct which violates this right.
16

17
             39. On March 3, 2015, Defendants VAN GORDON and DOES 1-10 seized

18
     NAVAS when they used excessive deadly force and fired multiple rounds of gunfire at

19   NAVAS, killing him. At the time of the use of excessive deadly force, Defendants had
20   no confirmation that NAVAS had committed any crime, no information that NAVAS
21   was any threat to any officer or any other person and did not see NAVAS in possession
22   of any illegal objects, contraband, or weapons. NAVAS was unarmed. VAN
23   GORDON and DOES 1-10 had no information as to whether there were any children
24   or other occupants in the car with NAVAS. VAN GORDON and DOES 1-10 issued
25   no warning before they fired. Plaintiffs are informed and thereon believe that VAN
26   GORDON and DOES 1-10 had never seen NAVAS before, did not recognize him as a
27   fugitive or person with any outstanding wants or warrants, and did not know who
28
     NAVAS was at the time of the shooting. At the time of the shooting, the vehicle that
                                                  -9-
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   NAVAS was driving was stopped. There were no exigent circumstances to justify
 2   firing multiple rounds at the vehicle and NAVAS as Defendants did in this case.
 3          40.   The use of deadly force by VAN GORDON and DOES 1-10 on March 3,
 4   2015 violated NAVAS rights to be free from excessive force by peace officers, which
 5   is guaranteed to him by the Fourth Amendment to the United States Constitution and
 6
     applied to state actors by the Fourteenth Amendment.
 7
            41.   Defendants DOES 1-10 were integral participants and failed to intervene
 8
     with respect to the use of deadly force against NAVAS despite the opportunity to do
 9
     so.
10
            42.   The conduct of VAN GORDON and DOES 1-10 in unlawfully seizing
11
     NAVAS by firing multiple rounds into the vehicle when NAVAS was unarmed, when
12
     the vehicle he occupied was stopped, when there was no confirmation of any crime
13
     and/or when the crime suspected did not justify the use of deadly force as a response,
14
     and when NAVAS posed no threat to the officers or to any other person, was
15
     malicious, oppressive and in reckless disregard for the rights and safety of NAVAS
16

17
     and warrants the imposition of exemplary and punitive damages as to VAN GORDON

18
     and DOES 1-10.

19          43.   As a direct result of the death of NAVAS, Plaintiffs have suffered the loss
20   of love, care, comfort, society, companionship, assistance, protection, affection, moral
21   support, financial support, and loss of services of NAVAS. This claim is made by
22   NAVAS’ Successors-in-Interest on NAVAS’ behalf as well as on their own behalf for
23   both wrongful death and survival damages.
24          44.   As a direct result of the unlawful seizure of NAVAS, he experienced
25   severe pain and suffering and lost his life for which he, by A.N., J.N., and A.N. as his
26   successor in interest, is entitled to recover damages.
27          45.   Plaintiffs also seek attorneys’ fees pursuant to 42 U.S.C. § 1988 and costs
28
     of suit.
                                                 - 10 -
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1                                  THIRD CLAIM FOR RELIEF
 2                            Substantive Due Process (42 U.S.C. §1983)
 3                         (against VAN GORDON and DOES 1-10)
 4         46. Plaintiffs repeat and reallege each and every allegation in paragraphs 1
 5   through 45 of this Complaint with the same force and effect as if fully set forth herein.
 6
           47. The substantive due process clause of the Fourteenth Amendment to the
 7
     United States Constitution guarantees all persons the right to be free from unlawful
 8
     state interference with their familial relations. 42 U.S.C. § 1983 provides a private
 9
     right of action for conduct which violates this right.
10
           48. Specifically, the Fourteenth Amendment protects all persons from
11
     interference with relationships such as “‘those that attend the creation and sustenance
12
     of a family’ and similar ‘highly personal relationships.’” IDK, Inc. v. Clark County,
13
     836 F.2d 1185, 1193 (9th Cir. 1988), citing Roberts v. United States Jaycees, 468 U.S.
14
     609, 618-19 (1988).
15
           49. On March 3, 2015, NAVAS had not committed any crime and/or any crime
16

17
     that justified the use of deadly force against him. At the time of the shooting, NAVAS

18
     was unarmed, the vehicle had stopped, and NAVAS was not threatening or otherwise

19   attempting to harm any officer or other person.
20         50. In shooting and killing NAVAS under the circumstances alleged herein, the
21   conduct of Defendants constituted an unwarranted state interference in the Plaintiffs’
22   familial relationship with their father and son, was unreasonable, and exhibited a
23   deliberate indifference to NAVAS’ rights in violation of the Fourteenth Amendment to
24   the U.S. Constitution.
25         51.    Defendants were each integral participants and/or failed to intervene with
26   respect to the other officers’ unlawful detention, use of excessive deadly force, and
27   unlawful interference with familial relations despite the opportunity to do so.
28


                                                 - 11 -
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1          52.   The conduct of Defendants in unlawfully detaining and using excessive
 2   deadly force against NAVAS and unlawfully interfering in the Plaintiffs’ familial
 3   relations with their father, husband and son was malicious, oppressive and in reckless
 4   disregard for the rights and safety of NAVAS and Plaintiffs and warrants the
 5   imposition of exemplary and punitive damages as to the individual defendants.
 6
            53.   As a direct result of the death of NAVAS, Plaintiffs have suffered the loss
 7
     of love, care, comfort, society, companionship, assistance, protection, affection, moral
 8
     support, financial support, and loss of services of NAVAS. Plaintiffs seek wrongful
 9
     death damages under this claim.
10
            54.   Plaintiffs also seek attorneys’ fees pursuant to 42 U.S.C. § 1988 and costs
11
     of suit.
12

13
                                   FOURTH CLAIM FOR RELIEF
14
                     Municipal Liability for Unconstitutional Custom or Policy
15
                                            (42 U.S.C. §1983)
16

17
                            (against Defendant CITY of LOS ANGELES)

18
            55. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1

19   through 54 of this Complaint with the same force and effect as if fully set forth herein.
20          56. A municipality is liable for the constitutional deprivations of an individual
21   where its officials or employees, acting under color of law, deprived a person of their
22   particular rights under the constitution and where either: the officials or employees
23   acted pursuant to an adopted policy, custom, or practice; the acts of a final policy
24   maker deprived a person of their constitutional rights by knowing about and approving
25   of an employees’ acts or omissions; or the constitutional deprivations were a result of
26   the municipality’s failure to train its employees to handle the usual and recurring
27   situations with which they must deal. Monell v. Department of Social Services, 436
28
     U.S. 658 (1978).
                                                 - 12 -
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1         57. On and for some time prior to and after March 3, 2015 (and continuing to
 2   the present date), Defendant CITY deprived Plaintiffs, NAVAS and other members of
 3   the public of their rights and liberties secured to them by the Fourth and Fourteenth
 4   Amendments to the United States Constitution by knowingly maintaining, enforcing
 5   and applying an official custom, policy, and practice of:
 6
                  (a) Employing and retaining CITY Police Officers, including Defendants
 7
                  VAN GORDON and DOES 1-10, who Defendant CITY at all times
 8
                  material herein knew or reasonably should have known had dangerous
 9
                  propensities for abusing their authority and for mistreating citizens by
10
                  failing to follow written CITY Police Department policies concerning the
11
                  lawful detention of citizens, the use of deadly force and the requirement to
12
                  render medical aid to those injured while being apprehended by the
13
                  police;
14
                  (b) Inadequately supervising, training, controlling, assigning, and
15
                  disciplining CITY Police Officers, including VAN GORDON and DOES
16

17
                  1-10, concerning lawful detention of citizens and the use of deadly force;

18
                  (c) Maintaining grossly inadequate procedures for reporting, supervising,

19                investigating, reviewing, disciplining, and controlling misconduct by
20                Defendants VAN GORDON, DOES 1-10, and other CITY police officers;
21                (d) Ratifying the misconduct of and unlawful detentions, arrests and uses
22                of excessive force by CITY Officers, including VAN GORDON, DOES
23                1-10 and other CITY police officers (including but not limited to the
24                misconduct and excessive force used by Defendants against NAVAS on
25                March 3, 2015);
26                (e) Failing to discipline VAN GORDON, DOES 1-10 and other CITY
27                Officers (including, but not limited to the misconduct and excessive force
28
                  used by Defendants against NAVAS on March 3, 2015);
                                                - 13 -
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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 1              (f) Failing to retrain VAN GORDON, DOES 1-10 and other CITY
 2              Officers concerning lawful detention, arrest, and the use of force despite
 3              the fact that complaints of unlawful detention, excessive force, and false
 4              statements have been filed against CITY Officers with the CITY, in the
 5              Superior Courts and in the District Courts and despite significant jury
 6
                verdicts against them;
 7
                (g) Failing to properly investigate claims of unlawful detention, excessive
 8
                force, and false statements or reports by CITY Police Officers;
 9
                (h) Conspiring to give a false account of the incident to attempt to justify
10
                unlawful detentions and the use of deadly force; and
11
                (i) By having and maintaining an unconstitutional policy, custom, and
12
                practice of detaining and arresting individuals without probable cause or
13
                reasonable suspicion, and using excessive force, including deadly force,
14
                which also is demonstrated by inadequate training regarding these
15
                subjects. The policies, customs, and practices of CITY, were done with a
16

17
                deliberate indifference to individuals’ safety and rights; and

18
                (j) Failing to adequately train, discipline, retrain, and investigate

19              concerning allegations and incidents of unlawful detentions and arrests
20              and of excessive force by CITY Officers, in combination with CITY’s
21              ratification of said complaints and incidents, has given rise to a culture of
22              impunity within the CITY of LOS ANGELES Police Department. The
23              CITY’s actions and inactions have caused CITY Officers to disregard
24              proper police procedures and the law concerning detention, arrest, and the
25              use of force in the exercise of their authority as peace officers and during
26              their day-to-day interactions with civilians.
27

28


                                               - 14 -
                                FIRST AMENDED COMPLAINT FOR DAMAGES
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 1         58. The CITY’s actions and inactions as described above were the moving force
 2   behind the Defendants’ unlawful detention of and use of excessive force against
 3   NAVAS on March 3, 2015.
 4         59. Pursuant to these unconstitutional customs, policies and practices and as an
 5   example thereof, CITY OF LOS ANGELES Police Officers Julio Benavides and
 6
     Mario Flores used excessive deadly force against Robert Contreras when they shot Mr.
 7
     Contreras in the back on September 3, 2005. At the time that Officers Benavides and
 8
     Flores fired, Mr. Contreras was unarmed and posed no threat of death or serious bodily
 9
     injury to the shooting officers or to anyone else. Plaintiffs are informed and thereon
10
     believe that Officers Benavides and Flores were not disciplined or required to undergo
11
     any retraining as a result of their use of deadly force against Mr. Contreras. Plaintiffs
12
     are further informed and thereon believe that CITY concluded that the shooting of Mr.
13
     Contreras was justified and that it was within and consistent with Los Angeles Police
14
     Department (“LAPD”) policy.
15
           60. Pursuant to these unconstitutional customs, policies and practices and as an
16

17
     example thereof, CITY OF LOS ANGELES Police Officers used excessive deadly

18
     force against Mauricio Cornejo when they beat Mr. Cornejo after he fled a traffic stop

19   on February 3, 2007. At the time of the LAPD officers’ use of force, Mr. Cornejo was
20   unarmed and posed no threat of death or serious bodily injury to the officers or to
21   anyone else. The six involved LAPD officers failed to provide Mr. Cornejo medical
22   care and he died from his injuries. Plaintiffs are informed and thereon believe that the
23   six involved LAPD officers were not disciplined or required to undergo any retraining
24   as a result of their use of deadly force against Mr. Cornejo. Plaintiffs are informed and
25   thereon believe that the CITY concluded that the use of force against Mr. Cornejo was
26   justified and that it was within and consistent with LAPD policy.
27         61. Pursuant to these unconstitutional customs, policies and practices and as an
28
     example thereof, CITY OF LOS ANGELES Police Officer Arthur Gamboa used
                                                 - 15 -
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 1   excessive deadly force when he shot and killed Anthony Garrett on May 10, 2011.
 2   Officer Gamboa shot Mr. Garrett twice in the back. The pre-shooting tactics and
 3   shooting was determined by the Board of Police Commissioners to be outside of
 4   departmental policy. However, Plaintiffs are aware of no information or evidence that
 5   Officer Gamboa was disciplined or required to undergo any retraining as a result of his
 6
     use of excessive deadly force against Mr. Garrett.
 7
           62. Pursuant to these unconstitutional customs, policies and practices and as an
 8
     example thereof, CITY OF LOS ANGELES Police Officer Fernando Ortega used
 9
     excessive deadly force against Maria del Carmen Ruvalcaba when he shot and killed
10
     Ms. Ruvalcaba in her home on July 22, 2011. At the time that Officer Ortega fired,
11
     Ms. Ruvalcaba was unarmed and posed no threat of death or serious bodily injury to
12
     the shooting officer, to any of the other officers on scene, or to anyone else. Officer
13
     Ortega was not disciplined or required to undergo any retraining as a result of his use
14
     of deadly force against Ms. Ruvalcaba. The CITY concluded that the shooting-death
15
     of Ms. Ruvalcaba by Officer Ortega was justified and that it was within and consistent
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17
     with LAPD policy.

18
           63. Also pursuant to these unconstitutional customs, policies and practices and

19   as an example thereof, City of LOS ANGELES Police Officers used excessive deadly
20   force against Sergio Pina on February 2, 2013. Mr. Pina was shot multiple times
21   although he was unarmed and posed no threat of death or serious bodily injury to the
22   officers or any other person at the time that he was shot. None of the officers involved
23   in the shooting of Mr. Pina were disciplined or required to undergo any re-training as a
24   result of their use of excessive deadly force against Mr. Pina. Plaintiffs are informed
25   and thereon believe that CITY declared the shooting of Mr. Pina justified and that it
26   was within and consistent with LAPD policy.
27         64. Also pursuant to these unconstitutional customs, policies and practices and
28
     as an example thereof, City of LOS ANGELES Police Officers Gerald Adams,
                                                - 16 -
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 1   Houston Stauber, Alfredo Morales and Shaun Hillman used excessive deadly force
 2   against David Martinez on March 19, 2013 when they shot him multiple times, killing
 3   him. At the time of the officers’ use of excessive deadly force, Martinez was unarmed,
 4   was running away from the officers, and posed no threat of death or serious bodily
 5   injury to the officers or any other person. Plaintiffs are informed and thereon believe
 6
     that none of the officers involved in the shooting-death of Mr. Martinez were
 7
     disciplined or required to undergo any re-training as a result of their use of excessive
 8
     deadly force. Plaintiffs are further informed and thereon believe that CITY declared
 9
     the shooting of Mr. Martinez to be justified and that it was within and consistent with
10
     LAPD policy.
11
           65. CITY’s response – or lack thereof -- to the repeated use of excessive deadly
12
     force against unarmed persons who pose no immediate threat of death or serious bodily
13
     injury is indicative of CITY’s custom, policy and practice of failing to train or retrain
14
     its officers and of ratifying its officers’ use of excessive force. CITY’s response – or
15
     lack thereof -- is further indicative of the culture of impunity that exists within the LOS
16
     ANGELES Police Department, whereby LOS ANGELES City Police Officers such as
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18
     Defendants believe that there are no adverse consequences when they violate the

19
     constitutional rights of citizens. This culture of impunity, pursuant to CITY’s official

20   policy, practice, and custom, is the direct and proximate cause of the individual
21   Defendants’ use of force against NAVAS in this case.
22         66. By reason of the aforementioned policies and practices of Defendant CITY,
23   NAVAS was severely injured and subjected to pain and suffering and lost his life for
24   which he, by his successors in interest, is entitled to recover survival damages.
25         67.    NAVAS’ successors-in-interest, A.N., J.N. and A.N., seek both survival
26   and wrongful death damages under this claim. Plaintiffs ROSA NAVAS and
27   ALFREDO NAVAS seek wrongful death damages under this claim. As a direct result
28   of the death of NAVAS caused by the conduct of Defendants, Plaintiffs have suffered

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 1   the loss of love, care, comfort, society, companionship, assistance, protection,
 2   affection, moral support, financial support and loss of services of NAVAS.
 3           68. Plaintiffs also seek attorneys’ fees pursuant to 42 U.S.C. § 1988 and costs of
 4   suit.
 5                                FIFTH CLAIM FOR RELIEF
 6
                  Battery (Cal. Govt. Code §820 and California Common Law)
 7
                                         (Wrongful Death)
 8
                                     (against all Defendants)
 9
             69. Plaintiffs repeat and reallege each and every allegation in paragraphs 1
10
     through 68 of this Complaint with the same force and effect as if fully set forth herein.
11
             70. VAN GORDON and DOES 1-10, while working as CITY Police Officers
12
     and acting within the course and scope of their duties, intentionally shot NAVAS. The
13
     shooting was a touching and use of unreasonable force against the NAVAS to which
14
     the NAVAS did not consent. As a result of the actions of Defendants VAN GORDON
15
     and DOES 1-10, NAVAS suffered severe pain and suffering and ultimately died from
16

17
     his injuries and lost earning capacity. Defendants had no legal justification for using

18
     force against NAVAS and said Defendants’ use of force was unreasonable.

19           71. As a direct and proximate result of Defendants’ conduct as alleged above,
20   Plaintiffs have been deprived of the life-long love, companionship, comfort, support,
21   society, care, and sustenance of NAVAS, and will continue to be so deprived for the
22   remainder of their natural lives. CITY is vicariously liable for the wrongful acts of the
23   individual defendants pursuant to section 815.2(a) of the California Government Code,
24   which provides that a public entity is liable for the injuries caused by its employees
25   within the scope of the employment if the employee’s acts would subject him or her to
26   liability.
27

28


                                                 - 18 -
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1         72. The conduct of Defendants was malicious, wanton, oppressive, and
 2   accomplished with a conscious disregard for the rights of Plaintiffs and NAVAS,
 3   entitling Plaintiffs, individually, to an award of exemplary and punitive damages.
 4

 5                               SIXTH CLAIM FOR RELIEF
 6
              Negligence (Cal. Govt. Code §820 and California Common Law)
 7
                                        (Wrongful Death)
 8
                                      (against all Defendants)
 9
           73. Plaintiffs repeat and reallege each and every allegation in paragraphs 1
10
     through 72 of this Complaint with the same force and effect as if fully set forth herein.
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           74. The actions and inactions of the Defendants were negligent and reckless,
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     including, but not limited to:
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                  (a) the failure to properly and adequately assess the need to stop, detain,
14
                  seize, arrest and/or use force or deadly force against NAVAS;
15
                  (b) the negligent pre-shooting tactics and handling of the situation with
16

17
                  NAVAS and the shooting of multiple rounds;

18
                  (c) the failure to properly train and supervise employees, both

19                professional and non-professional, including Defendants DOES 1-10;
20                (d) the failure to ensure that adequate numbers of employees with
21                appropriate education and training were available to meet the needs of and
22                protect the rights of scenarios that LAPD officers would frequently and
23                routinely encounter, such as this encounter with NAVAS;
24         75. As a direct and proximate result of Defendants’ conduct as alleged above,
25   and other undiscovered negligent conduct, NAVAS was caused to suffer severe pain
26   and suffering and ultimately died and lost his earning capacity. Also as a direct and
27   proximate result of Defendants’ conduct as alleged above, Plaintiffs suffered extreme
28
     and severe mental anguish and pain and have been injured in mind and body. Plaintiffs
                                                 - 19 -
                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   have also been deprived of the life-long love, companionship, comfort, society, care,
 2   and sustenance of NAVAS, and will continue to be so deprived for the remainder of
 3   their natural lives.
 4          76. CITY is vicariously liable for the wrongful acts of Defendants VAN
 5   GORDON and DOES 1-10, inclusive, pursuant to section 815.2(a) of the California
 6
     Government Code, which provides that a public entity is liable for the injuries caused
 7
     by its employees within the scope of the employment if the employee’s act would
 8
     subject him or her to liability.
 9
            77. Plaintiffs bring this claim on their own behalves and seek wrongful death
10
     damages under state law.
11

12
                                SEVENTH CLAIM FOR RELIEF
13
               Violation of Cal. Civ. Code §52.1 and California Common Law)
14
                                           (all Defendants)
15
            78. Plaintiffs repeat and reallege each and every allegation in paragraphs 1
16

17
     through 77 of this Complaint with the same force and effect as if fully set forth herein.

18          79. The California Civil Code, Section 52.1(b) authorizes a private right of

19   action for damages to any person whose constitutional rights are violated. Moreover,
20   “a successful claim for excessive force under the Fourth Amendment provides the
21   basis for a successful claim under § 52.1.” Chaudhry v. City of Los Angeles, 751 F.3d
22   1096, 1105-06 (9th Cir. 2014); citing Cameron v. Craig, 713 F.3d 1012, 1022 (9th
23   Cir.2013) (“[T]he elements of the excessive force claim under § 52.1 are the same as
24   under § 1983.”); Bender v. Cnty. of L.A., 217 Cal.App.4th 968, 976 (2013) (“an
25   unlawful [seizure]—when accompanied by unnecessary, deliberate and excessive
26   force—is [] within the protection of the Bane Act”).
27          80. VAN GORDON and DOES 1-10 violated NAVAS’s Fourth Amendment
28
     rights to be free from unreasonable seizures when they detained him and used deadly
                                                  - 20 -
                                   FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   force against him without any warning by firing multiple rounds at him and killing
 2   him. There was no confirmation that NAVAS had committed any crime and/or the
 3   defendants had no information that NAVAS committed any crime that warranted their
 4   use of the highest level of force and most severe deprivation of liberty possible –
 5   deadly force. At the time of the shots, the vehicle was stopped, NAVAS was not
 6
     threatening or attempting to harm anyone, the defendants had no information regarding
 7
     who NAVAS was and NAVAS did not match the description of any person with any
 8
     outstanding wants or warrants.
 9
            81. NAVAS was caused to suffer severe pain and suffering and ultimately died
10
     for which he, by Plaintiffs A.N., J.N., and A.N., as his successors in interest, is entitled
11
     to recover survival damages.
12
            82. The conduct of Defendants VAN GORDON and DOES 1-10 was a
13
     substantial factor in causing the harm, losses, injuries, and damages of NAVAS.
14
            83. CITY is vicariously liable for the wrongful acts of Defendants VAN
15
     GORDON and DOES 1-10 pursuant to section 815.2(a) of the California Government
16

17
     Code, which provides that a public entity is liable for the injuries caused by its

18
     employees within the scope of the employment if the employee’s acts would subject

19   him or her to liability.
20          84. The conduct of Defendants VAN GORDON and DOES 1-10 was malicious,
21   wanton, oppressive, and accomplished with a conscious disregard for the rights of
22   NAVAS, entitling Plaintiffs to an award of exemplary and punitive damages.
23          85. Plaintiffs also seek costs and attorney fees under this claim pursuant to
24   subsection (h).
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                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1                                 PRAYER FOR DAMAGES
 2         WHEREFORE, Plaintiffs request entry of judgment in their favor and against
 3   Defendants CITY OF LOS ANGELES, VAN GORDON and DOES 1-10, inclusive, as
 4   follows:
 5         A. For compensatory damages, including both survival damages and wrongful
 6
                death damages under federal and state law in an amount to be proven at trial;
 7
           B. For funeral and burial expenses and loss of financial support;
 8
           C. For punitive damages against the individual defendants VAN GORDON and
 9
                DOES 1-10 in an amount to be proven at trial;
10
           D. For interest;
11
           E. For reasonable costs of this suit and attorney’s fees under state and federal
12
                law;
13
           F. For such further relief at law or equity as the Court or jury may deem just and
14
                appropriate.
15

16
     Dated: November 9, 2016                 LAW OFFICES OF DALE K.GALIPO
17
                                             LAW OFFICES OF LUIS A. CARRILLO

18

19                                           ____/s Melanie T. Partow________________
                                             Dale K. Galipo
20                                           Luis A. Carrillo
                                             Melanie T. Partow
21                                           Attorneys for Plaintiffs
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                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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 1                             DEMAND FOR JURY TRIAL
 2

 3        Plaintiffs hereby demand a trial by jury.
 4

 5   Dated: November 9, 2016               LAW OFFICES OF DALE K.GALIPO
                                           LAW OFFICES OF LUIS A. CARRILLO
 6

 7
                                           ____/s Melanie T. Partow_______________
 8                                         Dale K. Galipo
                                           Luis A. Carrillo
 9
                                           Melanie T. Partow
10
                                           Attorneys for Plaintiffs

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                                FIRST AMENDED COMPLAINT FOR DAMAGES
